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                      EXHIBIT I
                                ORIGINAL
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  C2 Freight Resources, Inc.                         *** Load Confirmation ***
  24420 Highway 278                                                                                                              Page
              35572                                  • Refer to continuing contract for
  �cf
    fl�i�s:}5             Fax 205-489-5326           additional carrier requirements.
                                                                                                   1077923,4            Order 0288064
  Carrier:        ROCKET EXPEDITING LLC                                                 Pickup
                                                                                                           dylan
                 COLUMBUS            OH                                                 Contact:           (380) 222-3462
  Date:          06/02/2022                       43235                                 Phone:
                                                                                        Fax:
  Order                   Order:        0288064                                         Commodity:             CATTLE SUPLMNT BLOCKS
                          Temp:                                                         Weight:                43608.0
                                                                                        Trailer:               53'Van
                PU 1                   825 HIGHWAY 36 NORTH                               Date:            12/09/2021 0800
               LANO O LAKES PUR        ROSENBERG          TX       77471                                   12/09/2021 1400
  Reference Number               PU                    19560176

                SO 2                   975 RIVERVIEW ROAD                                 Date:            12110/2021 0800
               UNITED FARM ANO         COLUMBIA           TN       38401                                   12/10/2021 1600
  Payment              Carrier Freight Pay:                            $2,700.00
                       Total Carrier Pay:                              $2,700.00

 Instructions
 LANO O LAKES PURINA FEEDS - FCFS PER JIMMY MONDAY -FRIDAY I DID CALL TO ASK IF OPEN OF FRIDAY FOR SHIPPING
 SCALES ON SITE


 MUST HAVE 4 LOAD LOCKS OR STRAPS OR WILL NOT GET LOADED - THEY WILL BE REJECTED IF THEY DO NOT HAVE
 ONE OR THE OTHER


  Agreement                        0288064
 -C2 must receive signed Rate Agreement before driver will be dispatched                  ,
 -Double brokering ol this shipment will result in non-payment of load
 -Exclusive use oftrailer is required for this shipment. Failure to comply will result in non-payment
 -Driver is not to break trailer seal under any circumstance
 • All of the following are required by your dnver or a $50 fine MAY be imposed per day, per omission:
        1. The Bill of Lading number must be called in to C2 within 30 minutes of loading.
        2. Drivers must note your Carrier name as Carrier of record on the Bill of Lading.
        3. Drivers must call 800-810-2006 within 30 minutes after loading or unloading.
        4. Drivers must check call by 0900 daily.
        5. DrivEirs must call to notify C2 Freight of any exceptions to the Bill of Lading.
 -If Broker is fined for poor performance of the carrier, this amount may be deducted from carrier settlement
 -The control of all drivers is the responsibility of Carrier, including but not limited to driver logs and hours of service.
 -Trailers containing cargo are not to be dropped in transit without approval of C2 Freight dispatch.
 -Driver must deliver by delivery date above or a $50.00 fine MAY be assessed per day for late delivery
 -Dry van loads require clean, dry, odor free equipment. Vans must be less than 1O years old.
-C2 passes fuel surcharge on to Carrier. If not broken out on rate confirmation, amount is included in total rate.
-Accessorial charges will not be paid unless they are included on this load confirmation, and lumpers are
       reimbursed only with original receipt. Driver must fax copy of the lumper receipt within 24 hours of delivery.
-Signature is agreement of rate. It is agreed that the charges indicated on this rate confirmation
       the total charges to C2 Freight, owed to carrier for transporting this shipment
--Driver may be asked for: CDL, Medical Certificate, Daily Vehicle Maintenance Report
-Please refer to the Order Number on your invoice.
-All invoices must include a signed bill of lading and be sent to: C2 Freight Resources, Inc, 24420 Hwy 278, Houston, AL 35572
--Proof of Delivery must be faxed to C2 at 205-489-5326 within 24 hours of delivery!
DRIVER NAME: ____ _______                                          DRIVER CELL PHONE: _________
                                 Truck#: ______                      Trailer#: .,._,._______,,...,,....,.__
Please sign and fax back to: Julie    Nix                            Fax(205)489-5326
Sign Here ________________                                                  Print Name Here ______________..,
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                                                           ,.
                                                            Frei ,ht
                                                            Res8urces, Inc.
                                                  Rate Confirmation                                    207

•   Transloading of freight is not allowed. Transloading will result in non-payment.
•   C2 must receive signed Rate Agreement before driver will be dispatched
•   All loads will be tracked with either MacroPoint or Fourkites.
•   All drivers must accept tracking and download required app if applicable.
•   Drivers (not dispatchers) must call C2 Freight for dispatch instructions including addresses, reference numbers
    and directions.
•   Double brokering of this shipment will result in non-payment of load
•   Exclusive use of the trailer is required unless you have express written permission from C2 Freight.
•   Driver is not to break seal under any circumstance
•   All of the following are required by your driver or a $50 fine may be imposed per day, per omission:
        1.    Drivers must call 205-489-5335 within 30 minutes after loading or unloading.
        2.    Drivers must call to notify C2 Freight of any exceptions to the Bill of Lading.
        3.    Drivers must note your Carrier name as Carrier of record on the Bill of Lading.
•   If Broker is fined for poor performance of the carrier, this amount may be deducted from carrier settlement
•   Driver must deliver by delivery date listed on rate confirmation or a $50 fine may be assessed per day that driver
    is late
•   The control of all drivers is the responsibility of Carrier, including but not limited to driver logs and hours of
    service
•   Trailers containing cargo are not to be dropped in transit without express written permission from C2 Freight
•   Dry van loads require clean, dry, odor free equipment. Vans must be less than 10 years old.
•   C2 Freight passes fuel surcharge on to Carrier. If not broken out on rate agreement, amount is included in total
    rate
•   Accessorial charges will not be paid unless they are included on this load confirmation and lumpers are
    reimbursed only with original receipt. Driver must fax copy of the lumper receipt within 24 hours of delivery
•   Signature is agreement of rate. It is agreed that the charges indicated above include all costs and fees in
    connection with the shipment as described.
•   Carrier shall not be paid for detention, layover, deadhead, re-consignment nor truck ordered not used unless and
    until C2 Freight has written confirmation from customer, agreeing to the charges
•   Drivers must be U.S. citizens for all government loads
•   Driver may be asked for CDL, Medical Certificate, Daily Vehicle Maintenance report
•   Refer to this order number on your invoice
•   All invoices must include a signed bill of lading and b e sent to C2 accounting at one of the following:
        o C2 Freight Resources, Inc., 24420 Highway 278, Houston, AL 35572
        o accounting@c2freight.com
        o 205-489-5326 - Fax
•   Proof of Delivery must be faxed or emailed to C2 Freight within 24 hours of delivery.
    Fax: 205-489-5326       Email: accounting@c2freight.com




                                                C2 Freight Resources
                                                      24420 Hwy 278
                                                    Houston, AL 35572
                                                       205-489-5335
                                                http:((www.c2freight.com/
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